       Case 1:17-cv-02341-CC      Document 74      Filed 03/16/18   Page 1 of 5




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

YVETTE ADELLE SANDERS,              )
INDIVIDUALLY AND AS SURVIVING       )
PARENT, AND YVETTE ADELLE           )
SANDERS, AS ADMINISTRATRIX OF       )
THE ESTATE OF ANDREW THOMAS         )
SPENCER, DECEASED,                  )                 Case No.
                                    )                 1:17-CV-02341-WSD
     Plaintiffs,                    )
                                    )
v.                                  )
                                    )
QUIKTRIP CORPORATION,               )
                                    )
                                    )
     Defendant.                     )
___________________________________ )

    DEFENDANT QUIKTRIP CORPORATION’S REBUTTAL EXPERT
             DISCLOSURE AND NOTICE OF FILING

      COMES NOW Defendant QuikTrip Corporation, by and through counsel,

and pursuant to Fed. R. Civ. P. 26, identifies and discloses Karim Vellani as a

rebuttal expert witness in this case to provide testimony at trial on behalf of

Defendant. The written report of this expert is attached hereto as Exhibit “A.”

      This 16th day of March, 2018.

                                               Respectfully submitted,


                                               /s/ Nicole C. Leet
      Case 1:17-cv-02341-CC   Document 74   Filed 03/16/18   Page 2 of 5




                                        Michael J. Rust
                                        Georgia Bar No. 621257
                                        Nicole C. Leet
                                        Georgia Bar No.: 133044
                                        Attorneys for Defendant
                                        QuikTrip Corporation


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PARENT, AND YVETTE ADELLE           )
SANDERS, AS ADMINISTRATRIX OF       )
THE ESTATE OF ANDREW THOMAS         )
SPENCER, DECEASED,                  )
                                    )
     Plaintiff,                     )              CIVIL ACTION NO.:
                                    )              1:17-CV-02341-WSD
vs.                                 )
                                    )
QUIKTRIP CORPORATION,               )
                                    )
                                    )
     Defendant.                     )
___________________________________ )

            LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE

      I hereby certify that the foregoing has been prepared with one of the font and

point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.

                                Submitted this 16th day of March, 2018.

                                             /s/Nicole C. Leet
                                             Nicole C. Leet
                                             Georgia Bar No. 13304
                                             Attorney for Defendant
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             FOR THE NORTHERN DISTRICT OF GEORGIA
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INDIVIDUALLY AND AS SURVIVING       )
PARENT, AND YVETTE ADELLE           )
SANDERS, AS ADMINISTRATRIX OF       )
THE ESTATE OF ANDREW THOMAS         )
SPENCER, DECEASED,                  )                Case No.
                                    )                1:17-CV-02341-WSD
     Plaintiffs,                    )
                                    )
v.                                  )
                                    )
QUIKTRIP CORPORATION,               )
                                    )
                                    )
     Defendant.                     )
___________________________________ )

                          CERTIFICATE OF SERVICE

      I hereby certify that on March 16, 2018, copies of Defendant’s Rebuttal

Expert Disclosure were electronically served with the Clerk of Court using the

CM/ECF system which will automatically send notification of such filing to the

following attorneys of record:


                                      Peter A. Law
                                   E. Michael Moran
                                   Elizabeth A. Rose
                                     Law & Moran
                                 563 Spring Street, NW
                                   Atlanta, GA 30308
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This 16th day of March, 2018.


                                   /s/ Nicole C. Leet
                                   Nicole C. Leet
                                   Georgia Bar No.: 133044
                                   Attorney for Defendant QuikTrip
                                   Corporation
